Case 2:1O-cV-02900-N|QA Document 333 Filed 10/30/15 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

PETER SCHATZBERG, D.C., et al.
VS.

STATE FARM lV[UTUAL AUTOMOBILE : NO. 2:10-cV-02900
INSURANCE COMPANY, et al. '

VS.

PETER SCHATZBERG, D.C., P.C., et al.

 

ORI)ER
AND NOW, this day of October, 2015, it is ORDERED that all sealed filings in
this matter relating to the affidavit of J’Amy Kluender and her testimony With attached exhibits
shall remain sealed for a minimum of ten (l O) years notwithstanding the two (2) year period
contemplated by Local Rule of Civil Procedure 5.l.(b)(2) and (c), and the Clerk is directed to
take no action under those provisions until a date no earlier than ten (10) years from the

docketing ofthis Order.

BY THE COURT:

 

NITZA l. QUINONES ALEJANDRO, J.

Case 2:1O-cV-02900-N|QA Document 333 Filed 10/30/15 Page 2 of 3

IN THE UNITED STATES DISTRICT COURT FOR THE
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vS.

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VS.

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JOINT MOTION OF THE FARTIES UNDER LOCAL RULE 5.1.5

For the reasons set forth at the recent status conference of October 29, 2015, and for just
cause shown, outlined in the attached l\/Iemoranduni of Law, the parties request the attached Order
be entered.

BENNETT, BRlCKLIN & SALTZBURG LLC

/s Edward J. Brad[ey, .]r.
BY:

 

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